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 8                       UNITED STATES DISTRICT COURT
 9                    NORTHERN DISTRICT OF CALIFORNIA
10   TIMOTHY COMPERNOLLE,                     Case No.:
     derivatively on behalf of ZUORA INC.,
11   a Delaware corporation,                  VERIFIED SHAREHOLDER
                                              DERIVATIVE COMPLAINT
12                Plaintiff,
13         v.
14   TIEN TZUO, TYLER SLOAT, MARC             DEMAND FOR JURY TRIAL
     DIOUANE, PETER FENTON,
15   KENNETH A. GOLDMAN,
     TIMOTHY HALEY, JASON
16   PRESSMAN, MICHAELANGELO
     VOLPI, MAGDELENA YESIL,
17   OMAR ABBOSH, AND SARAH
     BOND,
18
                  Defendants,
19
          -and-
20
     ZUORA INC., a Delaware corporation,
21
                  Nominal Defendant.
22

23

24

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 1           Plaintiff Timothy Compernolle (“Plaintiff”), by his undersigned counsel,
 2   brings this shareholder derivative action on behalf of Nominal Defendant
 3   Zuora, Inc. (“Zuora” or the “Company”) against certain current and/or former
 4   officers and directors of the Company for violations of law, including breaches of
 5   fiduciary duties, waste of corporate assets, unjust enrichment, and for contribution
 6   for violations of the federal securities laws.
 7           Plaintiff makes these allegations upon personal knowledge as to those
 8   allegations concerning Plaintiff and, as to all other matters, upon the investigation
 9   of counsel, which includes, without limitation: (i) review and analysis of public
10   filings made by Zuora and other related parties and non-parties with the U.S.
11   Securities and Exchange Commission (“SEC”); (ii) review and analysis of press
12   releases and other publications disseminated by certain of the defendants and other
13   related non-parties; (iii) review of news articles, shareholder communications, and
14   postings on Zuora’s website concerning the Company’s public statements;
15   (iv) publicly available pleadings, papers, and court documents, including any
16   documents filed with and publicly available from the related pending securities
17   fraud class action, Roberts v. Zuora, Inc., Case 3:19-cv-03422-SI (N.D. Cal.) (the
18   “Securities Class Action”); and (v) review of other publicly available information
19   concerning Zuora, the Individual Defendants (defined below), and the Wrongful
20   Refusal Defendants (defined below).
21   I.      NATURE AND SUMMARY OF THE ACTION
22                 Zuora is a self-lauded “evangelist” of the “subscription economy,”
23   which refers to its role in the shift—over the course of the past decade—in both
24   consumption and selling behavior from a product- or service-centric approach to
25   a subscription model centered around ongoing customer relationships.
26                 Specifically, through Zuora’s subscription order-to-cash platform,
27   dubbed the Zuora Central Platform, the Company offered its “flagship” software
28   application products, Zuora Billing (“Billing”) and Zuora RevPro (“RevPro”).
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 1   These two applications helped customers with accounting metrics whose business
 2   models were based on revenues derived from sales of subscription services. For
 3   example, customers used Billing for accounting related to subscription billing,
 4   while customers used RevPro as a revenue recognition solution. Significantly,
 5   Zuora’s directors and officers led the Company’s clients to believe the two
 6   applications could be used collectively.
 7                In late 2018, achieving integration became a particularly salient
 8   objective among Zuora’s clients due to a change in accountancy law for public
 9   companies. Beginning from at least April 12, 2018 and continuing through the
10   present (the “Relevant Period”), Zuora’s directors and officers caused the
11   Company to misrepresent and conceal significant integration issues between
12   Billing and RevPro. Despite assembling two project teams to resolve ongoing
13   integration issues, after 1.5 years, Zuora failed to integrate Billing and RevPro.
14                Zuora’s directors and officers were well-apprised of the Billing and
15   RevPro integration failure. They also knew the problem severely impacted sales
16   and demand for the Company’s products. In fact, the Company’s most important
17   Billing customer, Zoom Video Communications (“Zoom”), initially elected to
18   purchase RevPro but ultimately ceased implementation due to the integration
19   failure and then stopped making payments.
20                Yet, notwithstanding their knowledge of the Company’s crippling
21   technology failures and customer losses, Zuora’s directors and officers stoked
22   investor excitement by causing the Company to falsely and misleadingly represent
23   that Billing and RevPro could function as a combined solution and that the
24   Company would experience strong growth as a result. Unbeknownst to the
25   investing public, these statements omitted, altogether, the following material facts:
26                (i)    Billing and RevPro customers could not successfully merge the
27                       data from both systems;
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 1                (ii)    Zuora could not offer a robust, single system for subscription
 2                        businesses to manage their monetization strategies, billing
 3                        terms, customer payment and collection, and revenue
 4                        recognition; and
 5
                  (iii)   Zuora experienced sales execution problems (including
 6
                          difficulties cross-selling Billing and RevPro), reduced demand,
 7
                          and customers refused to pay for these services.
 8

 9                As a result of these improper statements and omissions, Zuora
10   suffered significant damages, including, without limitation, the costs and expenses
11   of a securities fraud class action (and any potential settlement or judgment
12   therefrom), the cost and expenses of compensation to derelict directors and officers
13   in breach of their fiduciary duties, and a loss of credibility and market
14   capitalization.
15                On June 10, 2020, Plaintiff issued a written demand (the “Demand”)
16   on Zuora’s board of directors (the “Board”) to investigate and take the necessary
17   legal action against those responsible for the damages the Company has sustained
18   as a result of the wrongdoing detailed herein. Notwithstanding that more than
19   eight months have passed since Plaintiff issued the Demand—and in total and
20   patent contravention of Delaware law and the directors’ fiduciary duties—the
21   Board unreasonably and wrongfully ignored the Demand.
22                The Board has failed to act independently, in good faith, and within
23   the realm of sound business judgment in so doing.
24                In response to the Board’s unreasonable and wrongful failure to
25   respond to Plaintiff’s Demand and disinterestedly and independently investigate
26   and remediate harms caused to the Company, Plaintiff has filed this action alleging
27   breaches of fiduciary duties, waste of corporate assets, unjust enrichment, and for
28   contribution for violations of the federal securities law. Because the Board’s
                                                3
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 1   failure to respond to the Demand was improper and directly at odds with the
 2   Board’s fiduciary duties, as detailed further herein, this derivative action should
 3   be permitted to proceed for the benefit of the Company and its shareholders.
 4   II.   JURISDICTION AND VENUE
 5                This Court has jurisdiction over the claims asserted herein under
 6   28 U.S.C. § 1332 because there is complete diversity among the parties and the
 7   amount in controversy exceeds the sum of $75,000, exclusive of interest and costs.
 8                This Court has jurisdiction pursuant to 28 U.S.C. § 1331 in that this
 9   action states a federal question.      Plaintiff has asserted a federal claim for
10   contribution derivatively on behalf of the Company, arising under Sections 10(b)
11   and 21D of the Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C.
12   § 78u-4. Pursuant to federal statutory law, this Court has original federal question
13   jurisdiction over the federal contribution claim.
14                This Court has supplemental jurisdiction over the remaining claims
15   under 28 U.S.C. § 1367.
16                This action is not a collusive action designed to confer jurisdiction on
17   a court of the United States that it would not otherwise have.
18                This Court has personal jurisdiction over each defendant because
19   each defendant is either a corporation conducting business and maintaining
20   operations in this District or is an individual who is either present in this District
21   for jurisdictional purposes or has, directly and indirectly, used the means and
22   instrumentalities of interstate commerce, including, but not limited to, the
23   United States mails, interstate telephone communications, and the facilities of the
24   national securities exchanges and markets, such that each defendant has sufficient
25   minimum contacts with this District so as to render the exercise of jurisdiction by
26   this Court permissible under traditional notions of fair play and substantial justice.
27                Venue is proper in this District pursuant to Section 27 of the
28   Exchange Act (15 U.S.C. § 78aa) and 28 U.S.C. §§ 1391(b), (c), and (d). Zuora
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 1   maintains its headquarters in San Mateo, California, which is situated in this
 2   District, conducts substantial business in this District, and many of the acts and
 3   conduct that constitute the violations of law complained of herein, including
 4   dissemination to the public of materially false and misleading information,
 5   occurred in and/or were issued from this District. In connection with the acts
 6   alleged in this Complaint, Defendants, directly or indirectly, used the means and
 7   instrumentalities of interstate commerce, including, but not limited to, the mails,
 8   interstate telephone communications, and the facilities of the national securities
 9   markets.
10                  Pursuant to Local Rule 3‐5(b), Plaintiff requests the clerk assign this
11   action to the San Francisco Division of this district as, under Local Rule 3‐2(c), a
12   substantial part of the events or conduct giving rise to the claims herein occurred
13   in the San Mateo County, California.
14   III.   THE PARTIES
15                  Plaintiff
16                  Plaintiff Timothy Compernolle is a current shareholder of Zuora and
17   has continuously held Zuora common stock at all relevant times. Plaintiff is a
18   citizen of Illinois.
19                  Nominal Defendant Zuora
20                  Nominal Defendant Zuora is incorporated under the laws of Delaware
21   with its principal executive offices located in San Mateo, California.
22                  Zuora is an issuer of the common stock. Zuora’s common stock
23   trades on the New York Stock Exchange under the symbol “ZUO.” As of
24   December 31, 2020, Zuora had 108.9 million shares of Class A common stock
25   outstanding.
26                  Individual Defendants
27                  Defendant Tien Tzuo (“Tzuo”) has served as the chief executive
28   officer (“CEO”) and a member of the Board since Zuora’s inception in 2007 and
                                                 5
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 1   chairman of the Board since 2017. Tzuo is a defendant in the Securities Class
 2   Action. Tzuo received $402,120.00 in total compensation from the Company in
 3   2018, $2,996,581.00 in total compensation from the Company in 2019, and
 4   $3,435,030.00 in total compensation from the Company in 2020. Tzuo is a citizen
 5   of California.
 6                Defendant Tyler Sloat (“Sloat”) served as the chief financial officer
 7   (“CFO”) of Zuora from 2010 to April 2020. Sloat received $2,176,863.00 in total
 8   compensation from the Company in 2020. Sloat is a defendant in the Securities
 9   Class Action. Sloat is a citizen of California.
10                Defendant Marc Diouane (“Diouane”) served as the president of
11   Zuora from 2014 to December 2019. Diouane received $2,155,072.00 in total
12   compensation from the Company in 2018, $1,457,142.00 in total compensation
13   from the Company in 2019, and $1,607,610.00 in total compensation from the
14   Company in 2020. Diouane is a citizen of California.
15                Defendant Peter Fenton (“Fenton”) has served as a Zuora director
16   since 2007. During the Relevant Period, Defendant Fenton served on the Board’s
17   Audit Committee. Fenton is a citizen of California.
18                Defendant Kenneth A. Goldman (“Goldman”) has served as a Zuora
19   director since 2016. Goldman received $187,483.00 in total compensation from
20   the Company in 2019 and $199,991.00 in total compensation from the Company
21   in 2020. During the Relevant Period, Defendant Goldman served on and was chair
22   of the Board’s Audit Committee. Goldman is a citizen of California.
23                Defendant Timothy Haley (“Haley”) has served as a Zuora director
24   since 2010. During the Relevant Period, Defendant Haley served on and was chair
25   of the Board’s Compensation Committee and served on the Board’s Nominating
26   the Corporate Governance Committee. Haley is a citizen of California.
27                Defendant James C. Pressman (“Pressman”) has served as a Zuora
28   director since 2008. During the Relevant Period, Defendant Pressman served on
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 1   the Board’s Compensation Committee and the Board’s Audit Committee.
 2   Pressman is a citizen of California.
 3                Defendant Michelangelo Volpi (“Volpi”) served as a Zuora director
 4   from 2011 to June 2020. During the Relevant Period, Defendant Volpi served on
 5   the Board’s Audit Committee. Volpi is a citizen of California.
 6                Defendant Magdalena Yesil (“Yesil”) has served as a Zuora director
 7   since 2017. Yesil received $301,900.00 in total compensation from the Company
 8   in 2018, $189,358.00 in total compensation from the Company in 2019, and
 9   $202,491.00 in total compensation from the Company in 2020. During the
10   Relevant Period, Defendant Yesil served on and was chair of the Board’s
11   Nominating the Corporate Governance Committee. Yesil is a citizen of California.
12                Defendant Omar Abbosh (“Abbosh”) has served as a Zuora director
13   since July 2020. Abbosh is a citizen of England.
14                Defendant Sarah Bond (“Bond”) has served as a Zuora director since
15   July 2020. Bond is a citizen of Texas.
16                Defendants identified in ¶¶ 20-28 above are referred to herein as the
17   “Individual Defendants.”
18                Defendants identified in ¶¶ 23, 24, 26, 27 are sometimes referred to
19   herein as the “Audit Committee Defendants.”
20                Defendants identified in ¶¶ 21, 22, 24, 26, 27 are sometimes referred
21   to herein as the “Insider Selling Defendants.”
22                Defendants identified in ¶¶ 20, 23, 24-26, 28-30 are sometimes
23   referred to herein as the “Wrongful Refusal Defendants.”
24                Defendants identified in ¶¶ 20, 21 are sometimes referred to herein as
25   the “Officer Defendants” or the “Securities Class Action Defendants.”
26   IV.   SUBSTANTIVE ALLEGATIONS
27                To enhance its line of financial application products for its
28   subscription-based business customers, Zuora acquired new product RevPro and
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 1   then sought to integrate RevPro with its pre-existing flagship application, Billing.
 2   Unfortunately, all attempts at integration failed. And worse, and in breach of their
 3   fiduciary duties and in violation of federal securities law, the Individual
 4   Defendants caused the Company to mislead investors and the public about the
 5   vitality of the integration and the Company’s financial forecasts. Eventually, the
 6   truth came to light, causing the Company’s stock to tumble, a securities fraud class
 7   action, and other damages.
 8                 Zuora’s Background and the Subscription Economy
 9                 Zuora is a publicly traded company headquartered in San Mateo,
10   California.    It designs and sells “software-as-a-service” applications for
11   companies. Zuora provides subscription commerce, billing, and finance systems
12   to enterprise clients on a subscription basis, which enable its business clients in
13   various industries to launch, manage, and transform into subscription businesses.
14                 In 2006, when defendant Tzuo founded the Company, Zuora coined
15   the term the “Subscription Economy,” which is now a $102 billion industry. Zuora
16   predicted that product and service companies would exponentially shift to a
17   subscription business model, in which products and services are priced based on
18   usage, consumption, and outcomes. In making this business shift, Zuora predicted
19   then-current payment processing applications would become obsolete as
20   businesses would need subscription-based payment processing applications
21   capable of handling the complexities associated with ongoing customer
22   relationships, e.g., prorated billing, complex revenue recognition, and flexible
23   plans.
24                 Zuora’s Failure to Integrate its Billing and RevPro Products
25                 The Zuora “Central Platform” is the hub of Zuora’s subscription
26   management solution and is purportedly composed of six core engines: pricing,
27   subscription orders, rating, global payments, subscription metrics, and accounting.
28
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 1                 Originally launched in 2008, the Company’s primary and most
 2   widespread product is Billing, which 90% of Zuora’s customers use. Billing
 3   claims to give customers the ability to bill in a multitude of ways, prorate bills,
 4   group customers into batches for different billing and payment operations, set
 5   payment terms, consolidate invoicing across multiple subscriptions, and collect
 6   revenue.
 7                 In May 2017, Zuora acquired Leeyo Software, Inc. (“Leeyo”), a
 8   revenue recognition software provider. With this acquisition, Zuora added to its
 9   portfolio Leeyo’s product RevPro. Similar to what Billing does for managing
10   subscription model processes, RevPro automates the range of internal, multi-
11   departmental processes required to comply with the new Accounting Standard
12   Codification 606/International Financial Reporting Standards 15 (“ASC 606”). 1
13   According to Zuora’s officers, the Company’s acquisition of RevPro created a
14   “one-stop shop for automating financial operations, further increasing Zuora’s
15   dominance in the subscription economy field.”
16                 Shortly after it acquired RevPro from Leeyo, in October 2017, Zuora
17   began its attempts to implement RevPro for its own internal use in a project called
18   Zuora on Zuora (“ZoZ”). The purpose of ZoZ was to test RevPro’s compatibility
19   with Zuora’s other products on its Central Platform.
20                 During the ZoZ project, the Company encountered significant
21   integration challenges. Zuora discovered it could not use RevPro in connection
22   with any of the Company’s other applications, including its most popular product,
23   Billing. Zuora’s highest executives, including the Individual Defendants, were
24   informed that the ZoZ project exposed an integration failure. Indeed, ZoZ held
25

26
     1
       ASC 606 mandated that companies had to adopt new standards for allocating
     and recognizing revenue; public companies were required to adopt such standards
27   by the start of their fiscal year beginning after December 15, 2017, and private
     companies were required to do so by the start of their fiscal year beginning after
28   December 15, 2018. As a result of the new ASC 606 standards, companies face a
     more “cumbersome” internal accounting and reporting process.
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 1   weekly review meetings, which Zuora’s Chief Information Officer, Alvina Antar,
 2   who reported directly to defendant Sloat, attended. In one of these project
 3   meetings in early 2018, defendant Sloat told the ZoZ project team that the market
 4   needed a seamless solution and that “Zuora needed to get its act together with
 5   RevPro.”
 6               In early 2018, with the ZoZ project failing miserably, Zuora formed
 7   a new internal project coined the “Keystone Project,” aimed at building a workable
 8   connection for customers between RevPro and Billing. However, just like ZoZ,
 9   the Keystone Project failed. Further, the Keystone Project highlighted that the
10   integration failure was not customer specific; rather, it was far reaching and
11   impacted virtually all of Zuora’s customers attempting to use Billing and RevPro.
12               The Keystone Project held weekly calls that detailed the project’s
13   updates, and defendants Tzuo and Sloat participated in these calls. Once it was
14   clear the Keystone Project failed, the Company scrapped it in March of 2019.
15   Thereafter, at the directive of defendant Tien, and with all of the Individual
16   Defendants’ knowledge, Zuora attempted a third project, dubbed K-2 to the fix the
17   integration issues plaguing the Company.
18               During the course of the ZoZ and Keystone projects, the Individual
19   Defendants knew the Billing and RevPro integration failures were severely
20   impacting Zuora’s bottom line.     As a direct result of the significant issues
21   customers encountered when trying to use RevPro and Billing collectively, major
22   customers refused to pay Zuora. As just one example, the Company’s most
23   important Billing customer, Zoom, which initially elected to purchase RevPro,
24   ultimately opted not to implement the application fully due to the integration
25   failure. Worse, Zoom stopped paying Zuora.
26               Prior Zuora employees, who worked before and during the below
27   representations, claim that for customers using Billing and RevPro, “there was a
28   huge friction in reconciling the two systems,” there were immediate problems (in
                                             10
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 1   October 2017) integrating the systems, customers’ unhappiness operating the two
 2   systems “came up in team meetings all the time,” and Zuora had trouble selling
 3   RevPro because it did not work with Zuora Central. According to the prior
 4   employees, as a result of the strained customer relationships, customers withheld
 5   payments due to the failed Billing and RevPro connectively, and the Company lost
 6   sales and revenue.
 7                The Individual Defendants Caused Zuora to Make False and
                  Misleading Statements During the Relevant Period
 8

 9                The Individual Defendants knew Zuora’s internal ZoZ integration
10   project had failed (by early 2018), knew the Keystone Project failed (by early
11   2019), and knew customers had experienced failed integrations (leading, in some
12   instances, to major customers, like Zoom, refusing to make payments).
13   Nevertheless, from April 2018 to May 2019, the Individual Defendants concealed
14   these failures and misleadingly represented to investors–through SEC filings, press
15   releases, and teleconferences–robust financial forecasts based on the purported
16   (but nonexistent) Billing and RevPro combined solution.
17                1.      The Initial Public Offering
18                With the Leeyo (and RevPro) acquisition paving the way, on
19   April 12, 2018, Zuora filed its registration statement and prospectus (collectively,
20   the “Registration Statement”) with the SEC in connection with its IPO, which
21   defendants Tzuo and Sloat signed. Concealing the already-doomed ZoZ project,
22   the Registration Statement stated that Zuora was “well positioned to capitalize” on
23   the shift to the subscription economy based on its ability to “orchestrate the entire
24   subscription order-to-cash process, including billing and revenue recognition” and
25   emphasized Zuora’s “Cross-Sell Flagship Products,” Billing and RevPro.
26                According to the Registration Statement:
27         Our revenue growth and ability to achieve and sustain profitability
           will depend, in part on being able to expand our direct sales force and
28         increase the productivity of our sales force.
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 1         To date, most of our revenue has been attributable to the efforts of our
           direct sales force. In order to increase our revenue and achieve and
 2         sustain profitability, we must increase the size of our direct sales
           force, both in the United States and internationally, to generate
 3         additional revenue from new and existing customers.
 4         We believe that there is significant competition for sales personnel
           with the skills and technical knowledge that we require. Because our
 5         solution is often sold to large enterprises and involves long sales cycle
           and complex customer requirements, it is more difficult to find sales
 6         personnel with the specific skills and technical knowledge needed to
           sell our solution and, even if we are able to hire qualified personnel,
 7         doing so may be expensive. Our ability to achieve significant revenue
           growth will depend, in large part, on our success in recruiting,
 8         training, and retaining sufficient numbers of direct sales personnel to
           support our growth. New sales personnel require significant training
 9         and can take a number of months to achieve full productivity. Our
           recent hires and planned hires may not become productive as quickly
10         as we expect and if our new sales employees do not become fully
           productive on the timelines that we have projected or at all, our
11         revenue will not increase at anticipated levels and our ability to
           achieve long-term projections may be negatively impacted. We may
12         also be unable to hire or retain sufficient numbers of qualified
           individuals in the markets where we do business or plan to do
13         business. Furthermore, hiring sales personnel in new countries
           requires additional set up and upfront costs that we may not recover
14         if the sales personnel fail to achieve full productivity. In addition, as
           we continue to grow, a larger percentage of our sales force will be
15         new to our company and our solution, which may adversely affect our
           sales if we cannot train our sales force quickly or effectively. Attrition
16         rates may increase, and we may face integration challenges as we
           continue to seek to expand our sales force. If we are unable to hire
17         and train sufficient numbers of effective sales personnel, or if the sales
           personnel are not successful in obtaining new customers or increasing
18         sales to our existing customer base, our business will be adversely
           affected.
19

20               Furthermore, concealing the failing ZoZ project, the Registration
21   Statement addressed the acquisition of Leeyo and the demand for the RevPro
22   application given the new accounting standards set forth in ASC 606:
23         The market for our revenue recognition automation software product,
           [RevPro], is rapidly evolving as a result of the effectiveness of ASC
24         606, which makes it difficult to forecast adoption rates and demand
           for this product and could have a material adverse effect on our
25         business and operating results.
26         We began selling [RevPro]following our acquisition of Leeyo in May
           2017. We have less experience marketing, determining pricing for,
27         and selling [RevPro], and we are still determining how to best market,
           price, and support adoption of this offering. We have directed, and
28         intend to continue to direct, a significant portion of our financial and
                                               12
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 1          operating resources to develop and grow [RevPro]. The market for
            [RevPro] is rapidly evolving as a result of the effectiveness of ASC
 2          606, the revenue recognition accounting standard that will take effect
            for most public companies in January 2018. While we have seen a
 3          significant number of [RevPro] deployments, particularly in the
            second half of fiscal 2018, associated with the effectiveness of ASC
 4          606, it is uncertain whether [RevPro] will achieve and sustain high
            levels of demand and market acceptance. Accordingly, our future
 5          success depends in part upon growth in this market and the ability of
            our [RevPro] product to meet the demand for revenue recognition
 6          automation solutions. We have limited experience with respect to
            determining the optimal prices for this solution. Companies may
 7          choose to purchase our [RevPro] product to comply with ASC 606 in
            the short-term but may develop proprietary solutions in-house or
 8          migrate toward other solutions developed by our competitors in the
            future. Customers may purchase [RevPro] as a standalone product and
 9          not purchase other core Zuora products. The rapidly evolving nature
            of this market, as well as other factors that are beyond our control,
10          reduces our ability to accurately evaluate our long-term outlook and
            forecast annual performance. A reduction or slowdown in demand for
11          revenue recognition automation software, caused by shifts in the
            marketplace, regulatory requirements, accounting standards, lack of
12          acceptance, technological challenges, and competing solutions, could
            have a material adverse effect on our business, future growth,
13          operating results, and financial condition.
14                2.     The May 31, 2018 Form 8-K and Press Release
15                Following the IPO, on May 31, 2018, Zuora announced via a press
16   release its financial results for its first fiscal quarter ended April 30, 2018. The
17   Company attached the press release to its Form 8-K, signed by defendant Sloat,
18   and filed with the SEC the same day. In the press release, Zuora stated it obtained
19   $51.7 million in revenue and a net loss of $19.4 million for the quarter. The filing
20   and press release did not mention the ongoing Billing and RevPro integration
21   failures.
22                3.     The June 5, 2018 Tweet and Website Representations
23                On June 5, 2018, Zuora represented on its Twitter account: “Don’t
24   underestimate the complexity of revenue recognition. The deep dark depths are
25   very, very complex! Thank goodness for Zuora + RevPro integration for a
26   seamless order-to-revenue process!”        Similarly, from April 12, 2018 to
27   May 30, 2019 (the class period in the securities action, infra), Zuora’s website
28   touted “Zoura’s subscription management technology…automates the entire
                                              13
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 1   customer lifecycle from a single platform,” that Zuora Central is a “single
 2   platform[] for your order-to-revenue process” and “easily connects the various
 3   applications in your order-to-revenue ecosystem.”
 4               4.     The June 13, 2018 Form 10-Q
 5               In addition to Form 8-K, the Company’s corresponding quarterly
 6   report, filed on Form 10-Q on June 13, 2018, signed by defendant Sloat, reiterated
 7   the above financial results without acknowledging the failed ZoZ project. Zuora
 8   attached Rule 13a-14(a) and 15d-14(a) certifications to Form 10-Q, pursuant to the
 9   Exchange Act and the Sarbanes-Oxley Act of 2002 (the “SOX”), which defendants
10   Tzuo and Sloat signed.
11               5.     The August 30, 2018 Form 8-K,
                        Press Release, and Conference Call
12

13               On August 30, 2018, Zuora issued a press release announcing its
14   financial results for the second fiscal quarter ended July 31, 2018. The Company
15   reported $57.8 million in revenue with a net loss of $19.6 million. In connection
16   with this press release, Zuora held a conference call with analysts, during which
17   defendants Tzuo and Sloat spoke enthusiastically about the Billing and RevPro
18   applications, including the technology’s purported cohesive use and long-lasting
19   demand. First, defendant Sloat summarized the “vision for Zuora” on the call,
20   representing:
21         If you think back 5 months ago, and you’re at our road show, you
           basically laid out our vision for Zuora. And it really boiled down to 3
22         things: first, that the shift to Subscription Economy is a global trend
           and it’s happening across all industries and all geographies; second,
23         Zuora has built the only complete subscription management solution
           focused 100% on helping companies of all sizes, launch, scale and
24         transform into a subscription business; and finally, as a result, we have
           a portfolio at play across the entire Subscription Economy. And as a
25         result of that, we have a unique opportunity to deliver sustainable
           long-term growth and build a great business. So the question is, if we
26         were doing a road show presentation today, would you be saying the
           same exact thing?
27

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 1               Further, hiding the failed ZoZ project and the Company’s attempt to
 2   salvage integration with yet another rescue mission, the Keystone Project,
 3   defendant Sloat explained that RevPro offered Zuora a “longer-term opportunity,”
 4   and that the complexities of subscription businesses require a program like RevPro
 5   to automate the process of revenue recognition, stating:
 6         I think we’re seeing 2 things. One, ASC 606 and [International
           Financial Reporting Standard] 15 is a good driver for customers kind
 7         of last year when we talk about 605, 606 upgrade, but what we’re
           seeing is that companies had a time line. They had to get compliant
 8         and a lot of them chose to do that through kind of some manual band
           aid process, what we call. So we’re seeing those guys now. They’ve
 9         gone through their first integration. But they know it’s not sustainable,
           and they’re going to need the revenue automation solution for 606
10         going forward. So those customers are still out there. But on top of
           that, it’s all about -- the reason we did the acquisition was not 606. It
11         is about business model complexity that hits both your quote-to-cash
           solution as well as your revenue automation. And that’s really what
12         we’re seeing right now or the Hitachi example of that Tien touched
           on that, that’s all about just complexity and manual processes. And
13         they wake up -- a customer wakes up, and they realize they’ve
           outsourced all revenue to some other place, and they’ve got tens and
14         tens of bodies doing this all manually. And that’s not sustainable. And
           so that’s where I think that the long kind of like tailwinds are going to
15         be for RevPro.
16               Likewise, defendant Tzuo raved about Zuora’s experience with ASC
17   606 implementation as an “asset,” and described Zuora’s “expertise” with RevPro
18   for revenue recognition:
19         Again, we feel good. I mean -- so when we look at this year, the
           company has grown significantly as an independent company, and
20         they have never raised a venture amount and so have limited ability
           to invest, and we've been able to invest in that business. And so --
21         look, when we pull back and you ask yourselves which company out
           there really has the most 606 experience, and I would bet that it's this
22         team. They've done, I mean, dozens or scores of 606 implementations.
           Ask around for all the tech companies that you guys cover. Chances
23         are they're using RevPro for revenue recognition. And so that
           expertise is an asset, especially when we can apply more distribution
24         capability against their products.
25               6.     The September 12, 2018 Form 10-Q
26               On September 12, 2018, Zuora filed a quarterly report on Form 10-
27   Q, signed by defendant Sloat, which reiterated the financial results of the
28   August 30, 2018 Form 8-K and press release. Zuora attached Rule 13a-14(a) and
                                               15
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 1   15d-14(a) certifications to Form 10-Q, pursuant to the Exchange Act and the SOX,
 2   which defendants Tzuo and Sloat signed.
 3               7.     The November 29, 2018 Form 8-K and Press Release
 4               On November 29, 2018, Zuora issued a press release, which was
 5   attached to the Company’s Form 8-K filed with the SEC that day. Therein, the
 6   Company announced its financial results for its third fiscal quarter, which ended
 7   on October 31, 2018. The press release announced $61.6 million in revenue and
 8   a net loss of $17.9 million. In connection with the press release, Zuora held an
 9   earnings call with analysts, during which defendant Tzuo explained that Billing
10   and RevPro were based on a “simple concept they automate the financial
11   complexities generated by subscription models.” Specifically, and refusing to
12   disclose either the failed ZoZ project or the Company’s then-feverish attempt to
13   find a solution through the Keystone Project, defendant Tzuo stated:
14         [Billing and RevPro are] both based on a simple concept they
           automate the financial complexities generated by subscription
15         models. They’re highly, highly differentiated and they’re mission-
           critical for our customers.
16
                                       *     *      *
17
           What we’re finding is that many public companies rush to get
18         compliant, but a lot of them did so manually with spreadsheets, and
           they found this to be a short-term band-aid solution. These companies
19         are realizing that the real problem was never ASC 606; the bigger,
           more systemic trend is that these companies were struggling to scale
20         their revenue operations because of all these new flexible
           consumption recurring models their companies were launching, and
21         they couldn’t do it with a manual Excel-based approach. ASC 606
           was the thing that only highlighted the problem.
22
                                       *     *      *
23
           You can see that the underlying demand hasn’t gone away, but our
24         value proposition is now more centered around automation and
           efficiencies versus simply compliance. [It’s nice to see] this quarter,
25         we also signed on other public companies like Carbonite and Pivotal;
           who both chose RevPro all because we got the best revenue
26         automation platform on the market, and there’s a big, big difference
           between being compliant and being competitive.
27

28               Defendant Sloat furthered defendant Tzuo’s message, stating:
                                              16
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 1         That was the reason to bring on the RevPro product in the first place.
           The need for revenue automation is not just driven by ASC 606
 2         compliant. It’s a larger issue with many of these companies. As the
           complexity of revenue recognition limits their ability to efficiently
 3         scale and meet their business goals. That’s why we continue to see
           good demand for our RevPro product.
 4

 5                Defendant Tzuo also pointed to Zuora’s success in “bringing
 6   customers live” on its platform to have “a big swing effect”:
 7         [S]o it’s something that I wouldn’t say there’s anything that we put in
           place in the last 90 days, but it’s obviously a huge focus of ours, and
 8         we hope to continue to show continuous improvements year-over-
           year on these numbers, and so we feel really good. I think we
 9         benefited from the fact that we have a very sticky product, and when
           you look at our product, and once it goes in, whether it’s on Billing
10         on the revenue recognition side, right, it’s sticky. It’s running
           company’s core operations. It’s the heart of the businesses. And so
11         the 2 factors for us that influence churn are, one, how are well are we
           doing bringing customers live, and that’s where we continue to show
12         improvements year-over-year.
13                8.    The December 1, 2018 TheStreet.com Article
14                On December 1, 2018, in a TheStreet.com article, defendant Tzuo
15   stated that subscription business models were “wreaking havoc” on billing and
16   revenue recognition, which, he submitted, presented an opportunity for Zuora.
17   When asked about Billing and RevPro cross-selling, defendant Tzuo indicated that
18   the percentage of clients using both solutions is still low. However, he added that
19   Zuora did successfully cross-sell RevPro to major clients last quarter, such as
20   Pivotal Software and Carbonite, and represented that business challenges involved
21   in financially managing subscription businesses will drive additional traction. “I
22   think the broader message is, companies are realizing [that] these new business
23   models...are just wreaking havoc in their financial operations,” he said. “And the
24   two key areas that [they’re] wreaking havoc on is billing and revenue recognition.”
25                9.    The December 13, 2018 Form 10-Q
26                On December 13, 2018, Zuora filed a quarterly report on Form 10-Q,
27   signed by defendant Sloat, which reiterated the financial results of the November
28   29, 2018 Form 8-K and press release. Zuora attached Rule 13a-14(a) and 15d-
                                              17
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 1   14(a) certifications to Form 10-Q, pursuant to the Exchange Act and the SOX,
 2   which defendants Tzuo and Sloat signed.
 3                  10.   The March 21, 2019 Form 8-K and Press Release
 4                  By March 21, 2019, Zuora had long abandoned the ZoZ project and
 5   the Keystone Project had likewise failed. The Company issued a press release,
 6   which was attached to the Company’s Form 8-K filed with the SEC. In the press
 7   release, the Company announced its financial results for the fourth quarter ending
 8   January 31, 2019. Zuora reported revenue of $235.2 million and a net loss of
 9   $77.6 million. It also disclosed income guidance fiscal year 2020, with expected
10   revenue of $289 million to $293.5 million. In connection with the reported
11   financial results, the Company held and earnings call with analysts. On the call,
12   and despite ZoZ and Keystone Project failures, defendant Tzuo touted that Zuora
13   was the “only game in town if you’re looking for a complete end-to-end
14   subscription platform including billing and revenue recognition.”
15                  Furthermore, in response to an analyst’s question regarding where the
16   Company stood with respect to sales execution and sales hiring, defendant Tzuo
17   represented:
18         We feel really good. I mean we have a whole team in place now that’s
           taken our learnings of how to make this business model work and we
19         have two big competitive moats; one is obviously the technology and
           the other one we believe is just as important, is our go-to-market
20         expertise of how to engage with companies and how to help them
           understand what are the elements…. We’ve taken that knowledge,
21         we’ve got a whole team that knows how to find the right folks, bring
           them onboard. We’re doing a good job of hiring. We’re doing a good
22         job at [enablement]. We scaled this worldwide already. It was
           important for us to break through the international learnings actually
23         before we went public, and so you’re seeing our international business
           growing really, really well, but we feel good about where it is.
24

25                  11.   The April 18, 2019 Form 10-K
26                  On April 18, 2019, Zuora filed its Annual Report with the SEC on
27   Form 10-K, which was signed by defendants Tzuo and Sloat. In Form 10-K, the
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 1   Company reiterated previous statements regarding the integrated nature of Zuora’s
 2   “order-to-revenue process”:
 3         Zuora is a leading cloud-based subscription management platform.
           We provide software that enables companies across multiple
 4         industries and geographies to launch, manage or transform to a
           subscription business model. Architected specifically for dynamic,
 5         recurring subscription business models, our cloud-based software
           functions as an intelligent subscription management hub that
 6         automates and orchestrates the entire subscription order-to-revenue
           process, including billing and revenue recognition. Our solution
 7         enables businesses to easily change pricing and packaging for
           products and services to grow and scale, to efficiently comply with
 8         revenue recognition standards, and to build meaningful relationships
           with their subscribers.
 9

10               The 10-K also promoted Zuora’s ability to deploy and configure its
11   solution on its clients’ internal systems, explaining that “[w]e can deploy and
12   configure our portfolio of order-to-revenue products to meet a wide variety of use
13   cases for subscription business models,” including Billing and RevPro.
14   Furthermore, the 10-K emphasized that Zuora’s solution “[f]ree[d] [u]p IT
15   and[e]ngineering [r]esources,” and that with Zuora, “engineering and IT
16   departments no longer need to build in-house custom systems or customizations
17   for their Enterprise Resource Planning (ERP) systems to keep up with market
18   changes, ongoing customer demands, and new order-to-cash processes.”
19               12.    The May 8, 2019 Proxy Statement
20               On May 8, 2019, Zuora filed its Proxy Statement on Form 14(a) with
21   the SEC pursuant to Section 14(a) of the Exchange Act (the “2019 Proxy
22   Statement”). Specifically, with respect to Zuora’s Code of Conduct, the 2019
23   Proxy Statement stated:
24         We are committed to ethical business practices and, accordingly, we
           have adopted a Global Code of Business Conduct and Ethics (Code
25         of Conduct) that applies to all the members of our [Board], officers
           and employees. Our Code of Conduct is available on our website at
26         https://investor.zuora.com/governance/governance-documents. We
           intend to disclose future amendments to certain portions of the Code
27         of Conduct or waivers of such provisions granted to executive officers
           and directors on our website, as permitted under applicable New York
28         Stock Exchange and SEC rules.
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 1   V.    REASONS THE INDIVIDUAL
           DEFENDANTS’ STATEMENTS WERE IMPROPER
 2

 3                The true facts, which were known or recklessly disregarded by the
 4   Individual Defendants during the Relevant Period but concealed from the investing
 5   public, were as follows:
 6                a.    Billing and RevPro customers could not successfully merge the
 7                      data from both systems;
 8                b.    Zuora could not offer a robust, single system for subscription
 9                      businesses to manage their monetization strategies, billing
10                      terms, customer payment and collection, and revenue
11                      recognition;
12                c.    the Company experienced sales execution problems (including
13                      difficulties cross-selling Billing and RevPro), reduced demand,
14                      and customers refused to pay for these services; and
15                d.    based on the foregoing, the Individual Defendants lacked a
16                      reasonable basis for their positive statements about the
17                      Company’s financial performance and outlook during the
18                      Relevant Period.
19                As a result of the Individual Defendants’ false and misleading
20   statements and omissions, Zuora shares traded at artificially-inflated prices during
21   the Relevant Period. Once the true facts regarding the Company’s financial
22   prospects and future business prospects began to emerge, the Company’s stock
23   price fell dramatically, erasing hundreds of millions of dollars market
24   capitalization.
25   VI.   THE TRUTH EMERGES
26                On May 30, 2019, the Individual Defendants finally admitted the
27   truth about Billing and RevPro’s failed integration. On this date, after the trading
28   session, Zuora announced its first quarter results for the Company’s fiscal year
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 1   2020. These results included quarterly revenue growth of only 22% (a decline of
 2   over 18% from the prior quarter) and a drop in large customer growth. Further,
 3   Zuora reported it lost $20.6 million, a loss of 16% year-over-year. This forced
 4   Zuora to lower its fiscal year 2020 guidance from a range of $289 million to
 5   $293.5 million to a range of $268 million to $278 million.
 6               In a May 30, 2019 press release, Zuora also revealed that it projected
 7   subscription revenues of only $200 to $206 million, below previous guidance of
 8   $209 to $211.5 million. To make matters worse, the Company announced that its
 9   President and Head of Sales, defendant Diouane, would transition from that role
10   to the role of advisor to the CEO. Zuora advised it would conduct a search for
11   defendant Diouane’s replacement in the role of President and Head of Sales.
12               On the same day, Zuora held an earnings call with analysts, where
13   defendant Tzuo finally admitted that issues of “sales execution” and “product
14   integration” were to blame for the downward guidance adjustment. With respect
15   to sales execution, defendant Tzuo explained that:
16         First, based on what I saw in Q1, we need to improve our sales
           execution. As you know from our recent calls, Global 2000
17         companies have been an important source of our recent growth,
           Companies like Caterpillar, Ford and Schneider Electric. And so
18         we’ve been expanding our strategic sales teams and have hired a
           number of talented salespeople over the past year. What we see in Q1
19         is that the newer reps were less than half as productive than our more
           experienced reps. We’re finding that we need to improve the support
20         of our new reps with training and experienced oversight to help them
           ramp and close new businesses.
21

22               Later, on the same call, in an exchange with a Jeffries LLC analyst,
23   defendant Tzuo admitted the integration issues with RevPro and Billing:
24         [Jeffries LLC analyst]: . . . So Tien, I sort of get the integration of
           Billing and RevPro and how that could sort of slow some things down.
25         But . . . I mean you bought Leeyo two years ago. So like -- it’s hard[,]
           like how could it not be integrated? How could that be slowing things
26         down right now? And then kind of related to that, like you're talking
           about cross-sell. What about the other products? Like what about CPQ
27         and Connect and Analytics? Are you seeing any traction there? Or is
           that something else that also needs to be integrated better?
28
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 1          [Tzuo]: No, no. I'll give you some color there. We did acquire Leeyo
            a little less than 2 years ago, but I guess we are coming on 2 years.
 2          The first year was really focused on ASC 606, and there was such a
            tight deadline to get the core set up, dozens -- close to 100 customers
 3          live on ASC 606. And so John, that was -- that took us all the way
            through when these adoption standards were, right? So I'd call out Q1,
 4          Q2 of last year. And so honestly, we didn't really have time and the
            resource to focus on the integration between the 2 until after the 606
 5          [wave] was complete. So we didn't really start heavy work on the
            integration until early last summer, late spring, early last summer.
 6          And long story short, we went down one direction that proved to be a
            dead end, a false direction. We course corrected.
 7

 8                 In the months after the May 30, 2019 call, the full extent of the
 9   Individual    Defendants’   knowledge      (and,   thus,   misrepresentations    and
10   concealments) of the Billing and RevPro integration issues were revealed to the
11   public. For example, on September 10, 2019, at the Deutsche Bank Technology
12   Conference, Joon Huh (“Huh”), the Company’s Vice President of Investor
13   Relations, stated that “last year, we actually spent some time doing the integration.
14   So making sure that people that have our Billing product could also buy RevPro
15   and have a clean integration across it.” Huh noted, however, that at that time, “We
16   had some challenges going through it we highlighted on the Q1 call.” While Huh
17   explained the Company “spent some time doing the integration,” in truth, Zuora
18   spent approximately 1.5 years on the integration issues, creating two
19   comprehensive projects designed to solve the integration issues, both of which
20   failed entirely.
21   VII. DEFENDANTS’ IMPROPER INSIDER SELLING
22                 Not all of the Company’s shareholders were harmed by the
23   Individual Defendants’ misconduct.        During the Relevant Period, while in
24   possession of material, adverse, non-public information, certain of the Individual
25   Defendants unloaded their holdings of Zuora stock at bloated prices. Specifically,
26   the Insider Selling Defendants took advantage of the artificially-inflated prices to
27   sell their Zuora shares for more than $49,936,467.00 million in proceeds:
28
                                               22
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 1   Sloat
               Date            Number of             Price             Proceeds
 2
                                 Shares
 3
              9/5/2018           344,009            $26.10            $8,978,635
 4
             3/26/2019           364,528            $20.04            $7,305,141
 5
             3/28/2019           35,472             $20.00             $709,440
 6
                                                     Total            $16,993,216
 7

 8   Diouane
 9
               Date            Number of             Price             Proceeds

10
                                 Shares

11
              9/5/2018            5,200             $26.71             $138,892

12            9/5/2018           29,000             $25.75             $746,750

13           12/6/2018           130,500            $18.03            $2,352,915

14           3/26/2019             993              $20.22             $20,078

15           3/26/2019           129,007            $19.75            $2,547,888

16           4/29/2019           240,000            $22.19            $5,325,600
17                                                   Total            $11,132,123
18
     Goldman
19             Date            Number of             Price             Proceeds
20                               Shares
21           3/26/2019           35,000             $19.92             $697,200
22                                                   Total             $697,200
23
     Pressman
24             Date            Number of             Price             Proceeds
25                               Shares
26           12/17/2018           1,050             $17.87             $18,764
27           3/26/2019            1,040             $19.76             $20,550
28
                                              23
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 1                                                    Total               $39,314
 2
     Volpi
 3            Date              Number of             Price              Proceeds
 4                                Shares
 5           9/5/2018             28,780             $26.52              $763,246
 6       12/11/2018               137,629            $18.66             $2,568,157
 7       12/12/2018               563,941            $18.77            $10,585,173
 8       12/13/2018               44,800             $18.44              $829,112
 9       12/14/2018               23,471             $18.32              $521,589
10
         12/19/2018               95,398             $18.22             $1,738,152
11
         12/20/2018               39,762             $18.26              $726,054
12
             1/4/2019             161,116            $18.43             $2,969,368
13
             3/26/19              19,187             $19.48              $373,763
14
                                                      Total            $21,074,614
15

16                   The Insider Selling Defendants executed these insider sales under
17   highly suspicious circumstances—specifically, just before Zuora revealed the
18   above-referenced material misstatements and omissions on May 30, 2019. These
19   dubious sales appear timed to maximize profits while the Company’s stock price
20   traded at artificially inflated prices due to the misrepresentations and material
21   omissions detailed herein.
22   VIII. DUTIES OF THE INDIVIDUAL DEFENDANTS TO ZUORA
23                   The Individual Defendants owed and owe Zuora fiduciary duties of
24   good faith, loyalty, due care, and candor, as well as duties pursuant to the Board’s
25   committee charters and Zuora’s Global Code of Business Conduct and Ethics (the
26   “Zuora Code”).
27

28
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 1                The Individual Defendants’ Fiduciary Duties
 2                By reason of their positions as officers, directors, and/or fiduciaries
 3   of Zuora, and because of their responsibility to control the business and corporate
 4   affairs of the Company, the Individual Defendants owed and owe the Company
 5   and its shareholders the fiduciary duties of care and loyalty, including the
 6   subsidiary duties of good faith, oversight, and disclosure. They were and are
 7   required to use their utmost ability to control and manage the Company. The duty
 8   of care requires informed, deliberative decision-making based on all material
 9   information reasonably available. The duty of loyalty requires acting (including
10   deciding not to act) on a disinterested and independent basis, in good faith, with
11   an honest belief that the action is in the best interests of the company and its
12   shareholders.
13                To discharge their duties, the Individual Defendants were and are
14   required to exercise reasonable and prudent oversight and supervision over the
15   management, policies, practices, and controls of Zuora. Specifically, they were
16   and are required to, among other things:
17                (a)   use their utmost ability to control and manage the Company in
18                      a just, honest, fair, and equitable manner;
19                (b)   exercise good faith, fair dealing, and diligence in the
20                      administration of the affairs of the Company;
21                (c)   ensure that the Company is operated in a diligent, efficient,
22                      honest, and prudent manner and in accordance with all
23                      applicable laws, e.g., federal and state laws and government
24                      rules and regulations;
25                (d)   neither violate nor knowingly permit any Zuora officer,
26                      director, or employee to violate any applicable laws, rules, or
27                      regulations;
28
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 1                (e)    remain informed as to the status of Zuora’s operations, and
 2                       upon receipt or notice of information of imprudent or unsound
 3                       practices, to make a reasonable inquiry in connection thereto
 4                       and to take steps to correct such conditions or practices;
 5                (f)    maintain systematic and accurate records and reports of
 6                       Zuora’s business and affairs, and procedures for the reporting
 7                       of the Company’s business and affairs to the Board, and to
 8                       periodically investigate, or cause independent investigation to
 9                       be made of, said reports and records;
10                (g)    maintain an adequate, functioning system of internal controls,
11                       such that the affairs and operations of Zuora are conducted in
12                       accordance with all applicable laws, rules, and regulations;
13                (h)    avoid wasting the Company’s assets and maximize the value
14                       of the Company’s stock;
15                (i)    truthfully and accurately inform and guide investors and
16                       analysts with respect to the business operations of the
17                       Company; and
18                (j)    act in furtherance of the best interests of Zuora and not in
19                       furtherance of their personal interests.
20                Finally, because of their positions, the Individual Defendants directly
21   and/or indirectly exercise control over Zuora, and, in doing so, each have
22   knowledge of material, nonpublic information regarding the Company.
23                Additional Duties of The Committee Defendants
24                In addition to their fiduciary duties, the committee members of the
25   Board are tasked with specific duties. Defendants Fenton, Goldman, and Volpi
26   serve on Zoura’s Audit Committee (the “Audit Committee Defendants”). The
27   Audit Committee’s primary functions include, without limitation, assisting the
28   Board in fulfilling its oversight responsibilities relating to the Company’s financial
                                               26
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 1   accounting, reporting, compliance, and internal controls.        Pursuant to their
 2   committee charter, the Audit Committee Defendants owe and owed specific duties
 3   to Zuora, including, without limitation, to:
 4                 (a)   review and discuss with management the Company’s quarterly
 5                       and annual financial results and related earnings press releases
 6                       and earnings guidance to be distributed to the public;
 7                 (b)   review    the    Company’s      specific   disclosures    under
 8                       “Management’s Discussion and Analysis of Financial
 9                       Condition and Results of Operations” in its filings with and
10                       documents furnished to the SEC;
11                 (c)   review and discuss with management the adequacy and
12                       effectiveness of the Company’s accounting and financial
13                       reports processes and systems of internal control;
14                 (d)   review and discuss with management the Company’s internal
15                       controls report prior to filing the Company’s annual report on
16                       Form 10-K;
17                 (e)   prepare an annual report to the Company’s stockholders for
18                       inclusion in the Company’s annual proxy statements as
19                       required by SEC rules; and
20                 (f)   periodically review the Company’s insider trading policy.
21                 Defendants Haley and Pressman serve on Zoura’s Compensation
22   Committee (collectively, the “Compensation Committee Defendants”).              The
23   Committee Committee’s primary functions include, without limitation, overseeing
24   the Company’s policies with respect to the compensation of the Company’s board
25   members and officers. Pursuant to their committee charter, the Compensation
26   Committee Defendants, owed and owe specific duties to Zuora, including, without
27   limitation, to:
28                 (a)   review the Company’s compensation strategy;
                                               27
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 1                (b)    review and approve compensation of officers;
 2                (c)    evaluate and recommend the compensation of the CEO; and
 3                (d)    review officer stock ownership guidelines.
 4                Defendants Haley and Yesil serve on Zoura’s Nominating and
 5   Corporate Governance Committee (collectively, the “Nominating and Corporate
 6   Governance Committee Defendants”).              The Nominating and Corporate
 7   Governance Committee’s primary functions include, without limitation,
 8   developing and recommending corporate governance guidelines and policies;
 9   overseeing the evaluation of the Board and each committee of the Board; and
10   advising the Board on corporate governance matters and federal securities laws
11   matters. Pursuant to their committee charter, the Nominating and Corporate
12   Governance Committee Defendants, owed and owe specific duties to Zuora,
13   including, without limitation, to:
14                (a)    review the adequacy of the Zuora Code;
15                (b)    consider the Board’s leadership structure;
16                (c)    consider procedures for stockholder communications; and
17                (d)    oversee the process for evaluation of the performance of the
18                       Board.
19                The Individual Defendants’ Duties Pursuant to The Zuora Code
20                The Zuora Code applies to every Board member, officer, employee,
21   independent contractor, and consultant. It provides that the Company strives for
22   high ethical standards, especially of honesty and integrity, stating that:
23         This Code cannot address every ethical issue or circumstance that
           may arise, so, in complying with the letter and spirit of this Code,
24         employees must apply common sense, together with high personal
           standards of ethics, honesty and accountability, in making business
25         decisions where this Code has no specific guideline.
26                                        *    *      *
27         Zuora expects all of its directors, executives, managers and other
           supervisory personnel to act with honesty and integrity, use due care
28         and diligence in performing responsibilities to Zuora to help foster a
                                               28
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 1          sense of commitment to this Code among all of its employees, and to
            foster a culture of fairness, honesty and accountability within Zuora.
 2
                   The Zuora Code further provides that the Company not only
 3
     prioritizes legal compliance, but that it considers it only the beginning of an
 4
     employee’s duties:
 5
            Zuora’s success depends upon each employee performing his or her
 6          duties to Zuora in compliance with applicable laws and in cooperation
            with governmental authorities. Zuora’s success depends upon each
 7          employee operating within legal guidelines and cooperating with
            authorities. It is essential that each employee knows and understands
 8          the legal and regulatory requirements that apply to Zuora’s business
            and to his or her specific area of responsibility. While an employee is
 9          not expected to have complete mastery of these laws, rules and
            regulations, employees are expected to be able to recognize situations
10          that require consultation with others to determine the appropriate
            course of action. If any directors have any question in the area of legal
11          compliance, he or she should approach the Chair (or, in the case of
            the Chair, Zuora’s Compliance Officer), and if any employees have
12          any questions in the area of legal compliance, they should approach
            their supervisor or Zuora’s Compliance Officer immediately.
13
            Legal compliance is only a part of Zuora’s ethical responsibility,
14          however, and should be viewed as the minimum acceptable standard
            of conduct. Zuora strives to act with the utmost integrity, not just in
15          its most important corporate decisions, but also in the actions taken
            every day by its employees and directors. Ethical conduct is a high
16          ideal, but often just means exercising common sense and sound
            judgment. Acting ethically will help Zuora become a better company,
17          a better commercial partner for other companies, and a better
            corporate citizen.
18

19                 As insider trading is illegal and unethical, the Zuora Code directs
20   employees to review its separate Insider Trading Policy guidelines. The code
21   states, in part:
22          Every employee is prohibited from using “inside” or material
            nonpublic information about Zuora, or about companies with which
23          Zuora does business, in connection with buying or selling Zuora’s or
            such other companies’ securities, including “tipping” others who
24          might make an investment decision on the basis of this information.
            It is illegal, and it is a violation of this Code, Zuora’s Insider Trading
25          Policy (the “Insider Trading Policy”) and other Zuora policies, to tip
            or to trade on inside information. Employees who have access to
26          inside information are not permitted to use or share that inside
            information for stock trading purposes or for any other purpose except
27          to conduct Zuora business.
28
                                                29
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 1         Employees must exercise the utmost care when in possession of
           material nonpublic information. The Insider Trading Policy provides
 2         guidance on the types of information that might be nonpublic and
           material for these purposes, and guidelines on when and how an
 3         employee may purchase or sell shares of Zuora stock or other Zuora
           securities.
 4
           Please review the Insider Trading Policy for additional information.
 5

 6                The Zuora Code requires the Company meet its disclosure
 7   obligations, and that:
 8         Zuora’s disclosure controls and procedures are designed to help
           ensure that Zuora’s reports and documents filed with or submitted to
 9         the [SEC] and other public disclosures are complete, fair, accurate,
           fairly present Zuora’s financial condition and results of operations and
10         are timely and understandable. Employees who collect, provide or
           analyze information for or otherwise contribute in any way in
11         preparing or verifying these reports should be familiar with and
           adhere to all disclosure controls and procedures and generally assist
12         Zuora in producing financial disclosures that contain all of the
           information about Zuora that is required by law and would be
13         important to enable investors to understand Zuora’s business and its
           attendant risks, including, but not limited to:
14
               • no employee may take or authorize any action that would
15               cause Zuora’s financial records or financial disclosure to fail
                 to comply with generally accepted accounting principles, the
16               rules and regulations of the SEC or other applicable laws, rules
                 and regulations;
17
               • all employees must cooperate fully with Zuora’s finance
18               department, as well as Zuora’s independent auditors and legal
                 counsel, respond to their questions with candor and provide
19               them with complete and accurate information to help ensure
                 that Zuora’s books and records, as well as its reports filed with
20               the SEC, are accurate and complete; and
21             • no employee should knowingly make (or cause or encourage
                 any other person to make) any false or misleading statement
22               in any of Zuora’s reports filed with the SEC or knowingly omit
                 (or cause or encourage any other person to omit) any
23               information necessary to make the disclosure in any of such
                 reports accurate in all material respects.
24
           In connection with the preparation of the financial and other
25         disclosures that Zuora makes to the public, including by press release
           or filing a document with the SEC, directors must, in addition to
26         complying with all applicable laws, rules and regulations, follow
           these guidelines:
27
               • act honestly, ethically, and with integrity;
28
                                              30
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 1            • comply with this Code;
 2            • endeavor to ensure complete, fair, accurate, timely and
                understandable disclosure in Zuora’s filings with the SEC;
 3
              • raise questions and concerns regarding Zuora’s public
 4              disclosures when necessary and ensure that such questions and
                concerns are appropriately addressed;
 5
              • act in good faith in accordance with the director’s business
 6              judgment, without misrepresenting material facts or allowing
                independent judgment to be subordinated by others; and
 7
              • comply with Zuora’s disclosure controls and procedures and
 8              internal controls over financial reporting.
 9                   The Zuora Code sets special standards for “Senior Financial
10   Personnel,” a group explicitly including Tzuo and Sloat as Zuora’s CEO and CFO,
11   respectively:
12         Zuora’s Finance Department has a special responsibility to promote
           integrity throughout the organization, with responsibilities to
13         stakeholders both inside and outside of Zuora. As such, the Board
           requires that the [CEO] and senior personnel in Zuora’s finance
14         department adhere to the following ethical principles and accept the
           obligation to foster a culture throughout Zuora as a whole that ensures
15         the accurate and timely reporting of Zuora’s financial results and
           condition.
16
           Because of this special role, Zuora requires that the [CEO], [CFO],
17         Chief Accounting Officer and any other people performing similar
           functions (“Senior Financial Employees”):
18
              • Act with honesty and integrity and use due care and diligence
19              in performing his or her responsibilities to Zuora.
20                                       *      *     *
21            • Provide constituents with information that is accurate,
                complete, objective, relevant, timely and understandable,
22              including information for inclusion in Zuora’s submissions to
                governmental agencies or in public statements.
23
              • Comply with applicable laws, rules, and regulations of federal,
24              state and local governments, and of any applicable public or
                private regulatory and listing authorities.
25
                     Control, Access, and Authority
26

27                   The Individual Defendants, because of their positions of control and
28   authority as directors and/or officers of Zuora, were able to, and did, directly
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 1   and/or indirectly, exercise control over the wrongful acts complained of herein, as
 2   well as the contents of the various public statements issued by Zuora.
 3                Because of their advisory, executive, managerial, and directorial
 4   positions with Zuora, each of the Individual Defendants had access to adverse,
 5   non-public information about the financial condition, operations, and improper
 6   representations of Zuora.
 7                At all times relevant hereto, each of the Individual Defendants was
 8   the agent of each of the other Individual Defendants and of Zuora, and was at all
 9   times acting within the course and scope of such agency.
10                Reasonable and Prudent Supervision
11                To discharge their duties, the officers and directors of Zuora were
12   required to exercise reasonable and prudent supervision over the management,
13   policies, practices, and controls of the financial affairs of the Company. By virtue
14   of such duties, the officers and directors of Zuora were required to, among other
15   things:
16                a.    ensure that the Company complied with its legal obligations
17                      and requirements, including acting only within the scope of its
18                      legal authority and disseminating truthful and accurate
19                      statements to the investing public;
20                b.    conduct the affairs of the Company in an efficient, business-
21                      like manner so as to make it possible to provide the highest-
22                      quality performance of its business, to avoid wasting the
23                      Company’s assets, and to maximize the value of the
24                      Company’s stock;
25                c.    properly and accurately guide investors and analysts as to the
26                      true financial and business prospects of the Company at any
27                      given time, including making accurate statements about the
28
                                              32
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 1                       Company’s business and financial prospects and internal
 2                       controls;
 3                d.     remain informed as to how Zuora conducted its operations,
 4                       and, upon receipt of notice or information of imprudent or
 5                       unsound conditions or practices, make reasonable inquiry in
 6                       connection therewith, and take steps to correct such conditions
 7                       or practices and make such disclosures as necessary to comply
 8                       with securities laws; and
 9                e.     ensure that Zuora was operated in a diligent, honest, and
10                       prudent manner in compliance with all applicable laws, rules,
11                       and regulations.
12   IX.   BREACHES OF DUTIES
13                Each Individual Defendant and Wrongful Refusal Defendant, by
14   virtue of their position as a director and/or officer, owed to Zuora and its
15   shareholders the fiduciary duty of loyalty and good faith, and the exercise of due
16   care and diligence in the management and administration of the affairs of Zuora,
17   as well as in the use and preservation of its property and assets. The conduct of
18   the Individual Defendants and Wrongful Refusal Defendants complained of herein
19   involves a knowing and culpable violation of their obligations as directors and
20   officers of Zuora, the absence of good faith on their part, and a reckless disregard
21   for their duties to Zuora and its shareholders that the Individual Defendants and
22   the Wrongful Refusal Defendants were aware, or should have been aware, posed
23   a risk of serious injury to Zuora.
24                The Individual Defendants each breached their duty of loyalty,
25   including the subsidiary duties of good faith, oversight and disclosure, by issuing,
26   or causing the Company to issue, false and/or misleading statements that misled
27   shareholders into believing that disclosures related to the Company’s financial and
28   business prospects were truthful and accurate when made.
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 1                The Wrongful Refusal Defendants violated their fiduciary duties by
 2   failing to act independently, in good faith, and within the realm of sound business
 3   judgment in considering and responding to the Demand.
 4                In   addition,   as    a   result   of   the   Individual   Defendants’
 5   misrepresentations and concealments, on June 14, 2019, plaintiff Casey Roberts,
 6   on behalf of all persons who purchased or otherwise acquired Zuora common stock
 7   on a United States open market during the class period of April 12, 2018 to
 8   May 30, 2019, filed a securities class action against defendants Tzuo and Sloat, as
 9   well as the Company, for violating Sections 10(b) and 20(a) of the Exchange Act
10   (15 U.S.C. § 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder (17 C.F.R.
11   § 240.10b-5). Roberts v. Zuora, Inc., et al., Case No. 3:19-cv-03422-SI (ND Cal.
12   June 14, 2019).
13                On September 9, 2019, the Court appointed New Zealand Methodist
14   Trust Association to serve as lead plaintiff, and, on November 8, 2019, the New
15   Zealand Methodist Trust Association filed an amended consolidated complaint
16   (the “Securities Action”). Id. Dkt., Nos. 54, 60. Much of the misconduct set forth
17   in the Securities Action is set forth herein, including that defendants Tzuo and
18   Sloat made materially false and misleading statements concerning: (i) the
19   functionality of Billing and RevPro and the applications’ ability to work together;
20   and (ii) the decrease in sales and demand for Zuora’s products due to the RevPro
21   and Billing integration problems.
22                Defendants Tzuo and Sloat filed a motion to dismiss the Securities
23   Action on January 22, 2020. However, on April 28, 2020, the United States
24   District Court Judge Susan Illston denied the motion in full, finding the complaint
25   sufficiently alleged “Zuora and the individual defendants made numerous false or
26   misleading statements promoting the [RevPro’s and Billing’s] functionality” . . .
27   and “‘omitted to disclose a fundamental technical challenge’: that customers
28   ‘could not successfully integrate the data from [Billing and RevPro],’” and that
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 1   “‘[t]he failed [RevPro and Billing] integration problems ultimately resulted in
 2   reputational damage and reduced demand for all of Zuora’s products, including
 3   RevPro, the [c]entral platform, and other homegrown Zuora products.’” Id. Dkt.,
 4   No. 75.
 5                In denying the motion to dismiss, the Court rejected defendants’
 6   arguments that the statements were non-actionable, forward-looking statements
 7   and that the statements lacked materiality. The Court determined that the operative
 8   complaint sufficiently alleges materially false and misleading statements related
 9   to the functionality of RevPro and Billing, as well as statements related to the
10   demand and sales for Zuora’s products.
11                In particular, the Court found the complaint alleges the statements
12   were materially false or misleading because Billing and RevPro were not
13   integrated, meaning Zuora’s clients had “to either export the data from [Billing]
14   and import it into [RevPro] manually, or build a customized integration that could
15   ingest the required data from [Billing] into [RevPro].” Plaintiffs also allege with
16   particularity that the statements are contradicted by the failures of the ZoZ and
17   Keystone Projects as well as the problems that Zuora’s customers experienced
18   when they tried to implement both products, including significant issues with
19   major customers refusing to pay Zuora due to integrations problems.
20                In denying the motion to dismiss, the Court further found the
21   complaint links the defendants’ representations about the functionality and
22   integration of its products with the statements relating to growth and growth
23   strategy. For example, the Registration Statement identifies as a “key element” of
24   Zuora’s growth strategy “increasing transaction volume and upsells and cross-sells
25   with additional products,” including a “focus on acquiring new customers through
26   [its] flagship products, [Billing] and [RevPro].”
27                As such, the Court found the complaint satisfactorily alleges the
28   defendants did not have a reasonable basis to believe that the Billing and RevPro
                                              35
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 1   products were integrated or would work “seamlessly” or “easily” with each other
 2   because they were aware of undisclosed facts such as the failed Zo[Z] and
 3   Keystone projects and customer integration issues.       Similarly, for the same
 4   reasons, the challenged statements about growth and cross-selling and upselling,
 5   which were predicated on the successful integration and implementation of
 6   RevPro, are actionable.
 7                The Securities Action seeks all damages and remedies under the
 8   Exchange Act, as well as the plaintiffs’ costs and expenses, including reasonable
 9   attorney fees. Through its IPO, Zuora sold 12.7 million shares of common stock
10   to the public at a price of $14.00, netting nearly $160 million in cash proceeds. A
11   result of the aforementioned misrepresentations and concealments, the stock price
12   reached a high of $28 in June 2019, whereby Zuora attained over $3 billion in
13   market capitalization.     After the defendants’ fraud came to light, on
14   Mary 31, 2019, Zuora closed at $13.99, erasing $520 million in market
15   capitalization.
16                Given the heightened pleading standards applicable to the Securities
17   Action, namely Fed. R. Civ. 9(b) and the Private Securities Litigation Reform Act
18   (15 U.S.C. § 78u-4), and given the Securities Action survived defendants’ motion
19   to dismiss, there is a high degree of certainty that defendants Tzuo and Sloat will
20   face significant liability for their misconduct. Consequently, Zuora has expended,
21   and will continue to expend, significant sums of money to rectify the wrongdoing
22   detailed herein.
23   X.    CONSPIRACY, AIDING AND
           ABETTING, AND CONCERTED ACTION
24

25                In committing the wrongful acts alleged herein, the Individual
26   Defendants and Wrongful Refusal Defendants have pursued, or joined in the
27   pursuit of, a common course of conduct, and have acted in concert with and
28   conspired with one another in furtherance of their wrongdoing. The Individual
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 1   Defendants and Wrongful Refusal Defendants further aided and abetted and/or
 2   assisted each other in breaching their respective duties.
 3                During all times relevant hereto, the Individual Defendants
 4   collectively and individually initiated a course of conduct that was designed to
 5   mislead shareholders into believing that the Company’s business and financial
 6   prospects were better than they actually were.        In furtherance of this plan,
 7   conspiracy, and course of conduct, the Individual Defendants collectively and
 8   individually took the actions set forth herein.
 9                The purpose and effect of the Individual Defendants’ conspiracy,
10   common enterprise, and/or common course of conduct was, among other things,
11   to: (a) disguise the Individual Defendants’ violations of law, including breaches of
12   fiduciary duties and unjust enrichment; and (b) disguise and misrepresent the
13   Company’s actual business and financial prospects.
14                The Individual Defendants accomplished their conspiracy, common
15   enterprise, and/or common course of conduct by causing the Company to
16   purposefully, recklessly, or negligently release improper statements. Because the
17   actions described herein occurred under the authority of the Board, each of the
18   Individual Defendants was a direct, necessary, and substantial participant in the
19   conspiracy, common enterprise, and/or common course of conduct complained of
20   herein.
21                Each of the Individual Defendants aided and abetted and rendered
22   substantial assistance in the wrongs complained of herein. In taking such actions
23   to substantially assist the commissions of the wrongdoing complained of herein,
24   each Individual Defendant acted with knowledge of the primary wrongdoing,
25   substantially assisted the accomplishment of that wrongdoing, and was aware of
26   his or her overall contribution to and furtherance of the wrongdoing.
27

28
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 1   XI.   DAMAGES TO ZUORA
 2                As a result of the Individual Defendants’ wrongful conduct, Zuora
 3   disseminated false and misleading statements and omitted material information to
 4   make such statements not false and misleading when made.                The improper
 5   statements have devastated Zuora’s credibility. Zuora has been, and will continue
 6   to be, severely damaged and injured by the Individual Defendants’ misconduct.
 7                Further, as a direct and proximate result of the Defendants’ conduct,
 8   Zuora has expended, and will continue to expend, significant sums of money.
 9   Such expenditures include, but are not limited to:
10                a.     costs incurred in investigating and defending Zuora and certain
11                       officers in the Securities Class Action;
12                b.     costs incurred from compensation and benefits paid to the
13                       Individual Defendants, which compensation was based, at least
14                       in part, on the Company’s artificially inflated stock price; and
15                c.     costs incurred from the loss of the Company’s customers’
16                       confidence in Zuora and its products.
17                Moreover, these actions have irreparably damaged the Company’s
18   corporate image and goodwill. For at least the foreseeable future, Zuora will suffer
19   from what is known as the “liar’s discount,” a term applied to the stocks of
20   companies who have been implicated in illegal behavior and have misled the
21   investing public, such that the Company’s ability to raise equity capital or debt on
22   favorable terms in the future is now impaired.
23   XII. DERIVATIVE AND DEMAND ALLEGATIONS
24                Plaintiff brings this action derivatively, in the right and for the benefit
25   of Zuora, to redress injuries suffered, and to be suffered, by Zuora as a direct result
26   of the Individual Defendants’ and the Wrongful Refusal Defendants’ breaches of
27   fiduciary duties and other violations of law. Zuora is named as a nominal
28   defendant solely in a derivative capacity.
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 1                Plaintiff will adequately and fairly represent the interests of Zuora in
 2   enforcing and prosecuting its rights.
 3                Plaintiff is, and has continuously been, a shareholder of Zuora since
 4   prior to the start of the Relevant Period, and has been a shareholder at all relevant
 5   times, including at the time of the Individual Defendants’ and Wrongful Refusal
 6   Defendants’ wrongdoing complained of herein.
 7                As detailed below, Plaintiff’s pre-suit Demand has been wrongfully
 8   ignored by the Board, forcing Plaintiff to file this shareholder derivative action on
 9   behalf of the Company.
10                Given the Board’s wrongful, bad-faith, and unreasonable failure to
11   respond to Plaintiff’s lawful Demand to sufficiently investigate the misconduct,
12   and/or to take sufficient action to remedy the harms caused to the Company, this
13   shareholder derivative action should be permitted to proceed.
14                Plaintiff’s Demand Allegations
15                Before filing this derivative action, Plaintiff first demanded that the
16   Board take action to investigate and redress the misconduct alleged herein.
17   Specifically, on June 10, 2020, in accordance with Delaware law, Plaintiff issued
18   the Demand on the Board to investigate, and if warranted, commence legal action
19   against certain of the Company’s current and former directors and executive
20   officers who violated and caused the Company to violate the federal securities and
21   applicable laws, inter alia, and who accordingly caused the damages the Company
22   has suffered in connection with the events underlying the Securities Class Action.
23   A true and correct copy of the Demand is attached hereto as Exhibit A.
24                The Demand relayed that Zuora should not have to bear the colossal
25   financial burden caused by the Individual Defendants’ breaches of fiduciary duties
26   and violations of federal laws.         Plaintiff demanded the Board pursue the
27   Company’s claims against the Individual Defendants.           Specifically, Plaintiff
28   demanded the Board:
                                                39
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 1               •      undertake an independent investigation of defendants Tzuo,
 2                      Sloat, and Diouane (and any others who may be similarly
 3                      liable) for their violations of federal law in the Securities
 4                      Action and any related or similar litigation; and
 5               •      cause Zuora to file a complaint for breach of fiduciary duty,
 6                      aiding and abetting a breach of fiduciary duty, contribution,
 7                      and indemnification.
 8               Plaintiff further demanded that the Board effect a series of affirmative
 9   actions to redress the wrongs described herein and prevent such wrongdoing from
10   occurring again in the future. Such measures included, without limitation:
11               •      requiring defendants Tzuo, Sloat, and Diouane to account to
12                      Zuora for all damages sustained, or to be sustained, by the
13                      Company due to the above misconduct;
14               •      making certain that no Company funds are used towards any
15                      settlement or resolution of the Securities Action or any related
16                      litigation;
17               •      terminating   any    Company      employees      or   consultants
18                      responsible for the above misconduct, including defendants
19                      Tzuo and Diouane;
20               •      requiring defendants Tzuo, Sloat, and Diouane to return to the
21                      Company all salaries and other remuneration paid to them
22                      while in breach of their fiduciary duties; and
23               •      adopting internal controls and systems at the Company to
24                      ensure the above misconduct does not occur in the future.
25               Notwithstanding that more than eight months have passed since
26   Plaintiff issued the Demand—and in total and patent contravention of Delaware
27   law and the directors’ fiduciary duties—the Board unreasonably and wrongfully
28   ignored the Demand.
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 1                 The Board failed to act independently, in good faith, and within the
 2   realm of sound business judgment when it elected to ignore the Demand.
 3                 The Board’s failure to conduct a bona-fide and independent
 4   investigation or even address the accuracy of the Company’s public disclosures
 5   (and engage in a meaningful and transparent process) was improper and directly
 6   at odds with the Board’s fiduciary duties.
 7                 The Board’s abdication of its duty to investigate the centerpiece of
 8   the Demand (the accuracy of the Company’s public disclosures, which ultimately
 9   precipitated the Securities Class Action) was not reasonable, was a decision made
10   in bad faith, and is not entitled to the protections of the business judgment rule and
11   likewise warrants that this action proceed.
12                 Zuora has been and will continue to be exposed to significant losses
13   due to the Individual Defendants’ wrongdoing.           Yet, the Wrongful Refusal
14   Defendants have not filed any lawsuits against any persons who were responsible
15   for the wrongful conduct. Thus, the Wrongful Refusal Defendants continue to
16   breach their fiduciary duties to the Company and face a sufficiently substantial
17   likelihood of liability for their breaches.
18                 If Zuora’s current officers and directors are protected against personal
19   liability for their breaches of fiduciary duties alleged in this complaint by Directors
20   & Officers Liability Insurance (“D&O Insurance”), they caused the Company to
21   purchase that insurance for their protection with corporate funds, i.e., monies
22   belonging to the shareholders. However, Plaintiff is informed and believes that
23   the D&O Insurance policies covering the Individual Defendants in this case may
24   contain provisions that eliminate coverage for any action brought directly by Zuora
25   against the Individual Defendants, known as the “insured versus insured
26   exclusion.”
27                 As a result, if the Wrongful Refusal Defendants were to sue any of
28   themselves or certain of the officers of Zuora, there would be no D&O Insurance
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 1   protection, and thus, this is a further reason why they will not bring such a suit.
 2   On the other hand, if the suit is brought derivatively, as this action is brought, such
 3   insurance coverage exists and will provide a basis for the Company to effectuate
 4   recovery. Therefore, the Wrongful Refusal Defendants cannot be expected to file
 5   the claims asserted in this derivative lawsuit because such claims would not be
 6   covered under the Company’s D&O Insurance policy.
 7                Plaintiff has not made any demand on shareholders of Zuora to
 8   institute this action since such demand would be a futile and useless act for the
 9   following reasons:
10                a.      Zuora is a publicly traded company with thousands of
11                        shareholders of record and at least hundreds of thousands of
12                        beneficial owners;
13                b.      Making demand on such a number of shareholders would be
14                        impossible for Plaintiff, who has no means of collecting the
15                        names, addresses, or phone numbers of Zuora’s shareholders;
16                        and
17                c.      Making demand on all shareholders would force Plaintiff to
18                        incur excessive expenses and obstacles, assuming all
19                        shareholders could even be individually identified with any
20                        degree of certainty.
21                                         COUNT I
22                                Breach of Fiduciary Duties
                                (Against the Officer Defendants)
23

24                Plaintiff incorporates by reference and realleges each and every
25   allegation contained above, as though fully set forth herein.
26                The Officer Defendants owed fiduciary duties to Zuora and its
27   shareholders. By reason of their positions as fiduciaries to the Company, the
28   Officer Defendants owed duties of good faith, loyalty, candor, and truthful
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 1   disclosure. The Officer Defendants also owed Zuora fiduciary duties imposed and
 2   defined by the federal securities laws, rules, regulations, and federal substantive
 3   corporate law, which impose broad obligations on Defendants vis-a-vis the
 4   corporation and its individual shareholders. In addition, the Officer Defendants
 5   have specific fiduciary duties as defined by the Company’s corporate governance
 6   documents, including its Code of Ethics, and principles that, had they been
 7   discharged in accordance with the Officer Defendants’ obligations, would have
 8   prevented the misconduct and the consequent harm to the Company.
 9                The Officer Defendants violated these fiduciary duties by issuing,
10   causing to be issued, or otherwise allowing the material omissions and
11   misrepresentations described herein. The Officer Defendants were well aware of
12   the relevant disclosure laws, rules, and regulations.
13                The Officer Defendants consciously breached their fiduciary duties
14   and violated their corporate responsibilities in at least the following ways:
15   affirmatively and repeatedly making and/or failing to correct improper statements
16   in press releases, SEC filings, conference calls, and other public statements,
17   relating to, among other things, Zuora’s business, operations, and growth
18   prospects; failing to ensure the Company’s compliance with relevant legal and
19   regulatory requirements, including but not limited to requirements imposed under
20   state and federal securities laws; and/or failing to implement and maintain
21   adequate internal controls.
22                As a direct and proximate result of the Officer Defendants’ breaches
23   of their fiduciary obligations, Zuora has sustained significant damages.
24   Accordingly, the Officer Defendants are liable to the Company.
25                Plaintiff, on behalf of Zuora, has no adequate remedy at law.
26

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 1                                       COUNT II
 2                             Breach of Fiduciary Duties
                           (Against the Individual Defendants)
 3

 4                Plaintiff incorporates by reference and realleges each and every
 5   allegation contained above, as though fully set forth herein.
 6                The Individual Defendants owed and owe Zuora fiduciary
 7   obligations. By reason of their fiduciary relationships, the Individual Defendants
 8   specifically owed and owe Zuora the highest obligation of loyalty, due care, good
 9   faith, fair dealing, and candor in the administration of the affairs of the Company,
10   including, without limitation, the oversight of the Company’s compliance with
11   state and federal securities laws, rules, and regulations, as well as the duty of
12   candor and truthful disclosure with respect to their public statements.
13                The Individual Defendants also owed and owe Zuora fiduciary duties
14   imposed and defined by the federal securities laws, rules, regulations, and federal
15   substantive corporate law, which impose broad obligations on Defendants vis-a-
16   vis the corporation and its individual shareholders. The Individual Defendants
17   violated these fiduciary duties by issuing, causing to be issued, or otherwise
18   allowing the material omissions and misrepresentations described herein.
19                In addition, the Individual Defendants have specific fiduciary duties
20   as defined by the Company’s corporate governance documents, including its Code
21   of Ethics and the charters of various Board committees, and principles that, had
22   they been discharged in accordance with the Individual Defendants’ obligations,
23   would have prevented the misconduct and the consequent harm to the Company.
24                Each Individual Defendant violated his or her fiduciary duties by
25   consciously causing, or consciously failing to prevent the Company from engaging
26   in, the improper acts complained of herein.
27                The Individual Defendants consciously breached their fiduciary
28   duties and violated their corporate responsibilities in at least the following ways:
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 1                (i)      Failing to maintain an adequate system of oversight,
 2                         accounting controls and procedures, disclosure controls, and
 3                         other internal controls, which were necessary to prevent or
 4                         promptly correct the improper statements made on the
 5                         Company’s behalf;
 6                (ii)     Affirmatively and repeatedly making or allowing to be made,
 7                         and/or failing to correct, improper statements in Company
 8                         press releases, SEC filings, and other public statements relating
 9                         to, among other things, Zuora’ business, operations, and
10                         prospects;
11                (iii)    Failing to ensure the Company’s compliance with relevant
12                         legal and regulatory requirements, including but not limited to
13                         requirements imposed under state and federal securities laws;
14                (iv)     Awarding Zuora’ senior executives lavish compensation
15                         packages despite their responsibility for the Company’s willful
16                         misconduct; and
17                (v)      Reappointing certain directors who had failed in their duties to
18                         the Audit Committee.
19                As a direct and proximate result of the Individual Defendants’
20   breaches of their fiduciary obligations, Zuora has sustained significant damages.
21   Accordingly, the Individual Defendants are liable to the Company.
22                Plaintiff, on behalf of Zuora, has no adequate remedy at law.
23                                        COUNT III
24                                Breach of Fiduciary Duties
                        (Against the Wrongful Refusal Defendants)
25

26                Plaintiff incorporates by reference and realleges each and every
27   allegation contained above, as though fully set forth herein.
28
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 1                The Wrongful Refusal Defendants owed and owe Zuora fiduciary
 2   obligations. By reason of their fiduciary relationships, the Wrongful Refusal
 3   Defendants specifically owed and owe Zuora the highest obligation of good faith,
 4   fair dealing, loyalty, and due care in the administration of the affairs of the
 5   Company.
 6                The Wrongful Refusal Defendants violated these fiduciary duties by
 7   failing to act independently, in good faith, and within the realm of sound business
 8   judgment in considering and responding to the Demand.
 9                As a direct and proximate result of the Wrongful Refusal Defendants’
10   breaches of their fiduciary obligations, Zuora has sustained significant damages.
11   Accordingly, the Wrongful Refusal Defendants are liable to the Company.
12                Plaintiff, on behalf of Zuora, has no adequate remedy at law.
13                                      COUNT IV
14                              Waste of Corporate Assets
                                (Against All Defendants)
15

16                Plaintiff incorporates by reference and realleges each and every
17   allegation contained above, as though fully set forth herein.
18                As a result of Defendants’ misstatements and failure to implement
19   adequate internal controls to ensure that the Company’s SEC filings and other
20   public statements were not misleading, Zuora is subject to the Securities Class
21   Action. Defendants have caused Zuora to waste its corporate assets by forcing the
22   Company to expend valuable resources in defending itself in the ongoing
23   litigation, in addition to any ensuing costs from a potential settlement or adverse
24   judgment.
25                As a result of their waste of corporate assets, Defendants are liable to
26   the Company.
27                Plaintiff, on behalf of Zuora, has no adequate remedy at law.
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 1                                       COUNT V
 2                                 Unjust Enrichment
                                 (Against All Defendants)
 3

 4                Plaintiff incorporates by reference and realleges each and every
 5   allegation contained above, as though fully set forth herein.
 6                By their wrongful acts and omissions, Defendants were unjustly
 7   enriched at the expense of and to the detriment of Zuora. Defendants were unjustly
 8   enriched as a result of the compensation and remuneration they received while
 9   breaching fiduciary duties owed to the Company.
10                Plaintiff, as shareholders and representatives of Zuora, seeks
11   restitution from Defendants, and each of them, and seeks an order of this Court
12   disgorging all profits, benefits, and other compensation obtained by Defendants,
13   and each of them, from their wrongful conduct and fiduciary breaches.
14                Plaintiff, on behalf of Zuora, has no adequate remedy at law.
15                                      COUNT VI
16               Derivatively for Contribution Under Sections 10(B)
                          and 21D of the Exchange Act
17                 (Against the Securities Class Action Defendants)
18                Plaintiff incorporates by reference and realleges each and every
19   allegation contained above, as though fully set forth herein.
20                During the Relevant Period, Zuora and the Securities Class Action
21   Defendants carried out a plan, scheme, and course of conduct which was intended
22   to and, throughout the Relevant Period, did: (i) deceive the investing public,
23   including Plaintiff and other shareholders, as alleged herein; and (ii) caused
24   Plaintiff and other shareholders to purchase Zuora common stock at artificially
25   inflated prices.
26                The Securities Class Action Defendants: (i) employed devices,
27   schemes, and artifices to defraud; (ii) made untrue statements of material fact
28   and/or omitted to state material facts necessary to make the statements not
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 1   misleading; and (iii) engaged in acts, practices, and a course of business which
 2   operated as a fraud and deceit upon the purchasers of the Company’s common
 3   stock in an effort to maintain artificially high market prices for Zuora common
 4   stock in violation of Section 10(b) of the Exchange Act and Rule 10b-5,
 5   promulgated thereunder.
 6                Zuora and the Securities Class Action Defendants, individually and
 7   in concert, directly and indirectly, by the use, means or instrumentalities of
 8   interstate commerce and/or of the mails, engaged and participated in a continuous
 9   course of conduct to conceal adverse material information about the Company’s
10   financial well-being, operations, and prospects.
11                During the Relevant Period, the Securities Class Action Defendants
12   made the false statements specified above, which they knew or recklessly
13   disregarded to be false and misleading in that they contained misrepresentations
14   and failed to disclose material facts necessary in order to make the statements
15   made, in light of the circumstances under which they were made, not misleading.
16                Zuora and the Securities Class Action Defendants had actual
17   knowledge of the misrepresentations and omissions of material fact set forth
18   herein, or recklessly disregarded the true facts that were available to them. Zuora
19   and the Securities Class Action Defendants engaged in this misconduct to conceal
20   Zuora’ true condition from the investing public and to support the artificially
21   inflated prices of the Company’s common stock.
22                Plaintiff and the shareholders have suffered damages in that, in
23   reliance on the integrity of the market, they paid artificially inflated prices for
24   Zuora’ common stock. Plaintiff and other shareholders would not have purchased
25   the Company’s common stock at the prices they paid, or at all, had they been aware
26   that the market prices for Zuora’ common stock had been artificially inflated by
27   Defendants’ fraudulent course of conduct.
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 1                  As a direct and proximate result of Zuora’ and the Securities Class
 2   Action Defendants’ wrongful conduct, Plaintiff and the other shareholders
 3   suffered damages in connection with their respective purchases of the Company’s
 4   common stock during the Relevant Period.
 5                  By virtue of the foregoing, Zuora and the Securities Class Action
 6   Defendants violated Section 10(b) of the Exchange Act and Rule 10b-5,
 7   promulgated thereunder.
 8                                       COUNT VII
 9                             Breach of Fiduciary Duty
                        Through the Misappropriation of Material,
10                              Non-Public Information
11                        (Against the Insider Selling Defendants)
12                  Plaintiff incorporates by reference and realleges each and every
13   allegation contained above, as though fully set forth herein.
14                  At the time the Insider Selling Defendants sold their Zuora stock, they
15   knew the information described above and sold Zuora stock on the basis of such
16   information.
17                  The information described above was proprietary, non-public
18   information concerning the Company’s financial condition and future business
19   prospects. It was a proprietary asset belonging to the Company, which the Insider
20   Selling Defendants misappropriated to their own benefit when they sold Zuora
21   stock.
22                  The Insider Selling Defendants’ sales of stock while in possession
23   and control of this material, adverse, non-public information was a breach of their
24   fiduciary duties of loyalty and good faith.
25                  Since the use of the Company’s proprietary information for their own
26   gain constitutes a breach of the Insider Selling Defendants’ fiduciary duties, the
27   Company is entitled to the imposition of a constructive trust on any profits the
28   Insider Selling Defendants obtained thereby.
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 1              Plaintiff, on behalf of Zuora, has no adequate remedy at law.
 2   XIII. PRAYER FOR RELIEF
 3        WHEREFORE, Plaintiff demands judgment as follows:
 4        A.    Finding that all of the Defendants have breached their fiduciary duties
 5              to the Company, wasted corporate assets, were unjustly enriched, and
 6              violated the federal securities laws;
 7        B.    Directing Zuora to take all necessary actions to reform and improve
 8              its corporate governance and internal procedures to comply with
 9              applicable laws and to protect the Company and its shareholders from
10              a repeat of the damaging events described herein, including, but not
11              limited to, putting forward for shareholder vote resolutions for
12              amendments to the Company’s Bylaws or Articles of Incorporation,
13              and taking such other action as may be necessary to place before
14              shareholders for a vote on the following corporate governance
15              proposals, actions, or policies:
16              •     a proposal to strengthen the Company’s accounting and
17                    disclosure controls to ensure that all material information is
18                    adequately and timely disclosed to the SEC and the public;
19              •     a proposal to develop and implement procedures for greater
20                    shareholder input into the policies and guidelines of the Board;
21              •     a provision to permit the shareholders of Zuora to nominate
22                    three candidates for election to the Board;
23              •     an accounting by the Zuora officers to the Company for all
24                    damages sustained, or to be sustained, by the Company by
25                    reason of the wrongs and misconduct complained of herein,
26                    and should make certain that no Company funds are used
27                    towards any settlement or resolution of the Securities Class
28                    Action, or any related or similar litigation;
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 1             •      the termination, for cause, any Company employee responsible
 2                    for the wrongdoing alleged herein, including Tien Tzuo and
 3                    Tyler Sloat;
 4             •      the return to the Company all salaries, bonuses, and the value
 5                    of other remuneration of whatever kind paid to them during the
 6                    time they were in breach of their fiduciary duties; and
 7             •      the payment of interest by Zuora officers, at the highest rate
 8                    allowable by law, on the amount of damages sustained by the
 9                    Company as a result of their culpable conduct.
10       C.    Against each Defendant in favor of Zuora for the amount of damages
11             sustained by Zuora, jointly and severally, in an amount to be
12             determined at trial, together with pre- and post-judgment interest at
13             the maximum legal rate allowable by law;
14       D.    Requiring Defendants to return to Zuora all compensation and
15             remuneration of whatever kind paid to them by the Company during
16             the time that they were in breach of their fiduciary duties;
17       E.    Directing Defendants to establish, maintain, and fully fund effective
18             corporate governance and compliance programs to ensure that
19             Zuora’s directors, officers, and employees do not engage in wrongful
20             or illegal practices;
21       F.    Granting additional appropriate equitable and/or injunctive relief to
22             remedy Defendants’ misconduct, as permitted by law;
23       G.    Awarding Plaintiff the costs and disbursements of this action,
24             including reasonable attorneys’ and experts’ fees and expenses; and
25       H.    Granting such other and further relief as this Court deems just and
26             equitable.
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 1   XIV. DEMAND FOR JURY TRIAL
 2        Plaintiff demands a jury trial as to all issues so triable.
 3

 4   Dated: February 17, 2021                  JOHNSON FISTEL, LLP
 5                                       By: /s/ Brett M. Middleton
                                             BRETT M. MIDDLETON
 6
                                               FRANK J. JOHNSON
 7                                             KRISTEN O’CONNOR
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 8                                             San Diego, CA 92101
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11
                                               Attorneys for            Plaintiff   Timothy
12                                             Compernolle
13

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                                                        VERIFICATION


                     I, Timothy Compernolle, verify that I have reviewed the foregoing Verified Shareholder

            Derivative Complaint, and that the allegations as to me are true and correct and that the other

            allegations upon information and belief are true and correct.

                            15 2021
            Dated: February ___,



            _____________________________
            (Signature of Timothy Compernolle)
